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                                                                                                              UNITED STATES DISTRICT COURT
                                                                                                          IN THE EASTERN DISTRICT OF MICHIGAN
                                                                                                                   SOUTHERN DIVISION


                                                                                   LOFT HOLDINGS, LLC

                                                                                           Plaintiff,

                                                                                   -vs-
                                                                                                                                     Civil Action No.
                                                                                   USC 28 N SAGINAW, LLC,
                                                                                   URBAN STANDARD MANAGER, LP,
                                                                                   and URBAN STANDARD CAPITAL, LLC                   Honorable
                                                                                   d/b/a URBAN STANDARD CAPITAL
                                                                                   d/b/a USC
ISHBIA & GAGLEARD, P.C.




                                                                                           Collectively, Defendants.
                                                     251 Merrill St., Suite 212
                                                      Birmingham, MI 48009
                          Attorneys and Counselors




                                                                                                           DEFENDANTS NOTICE OF REMOVAL

                                                                                          NOW COME Defendant USC 28 N Saginaw, LLC, Defendant Urban Standard Manager,

                                                                                  LP and Defendant Urban Standard Capital, LLC (collectively the “Defendants”) by and through

                                                                                  their counsel, Ishbia & Gagleard, P.C., and submit this Notice of Removal under 28 U.S.C. §§

                                                                                  1332, 1441, and 1446 to remove the above-entitled action from the Oakland County Circuit Court,

                                                                                  Michigan, which is pending under the cause number 2023-203279-CB (the State Court Action),

                                                                                  to the United States District Court for the Eastern District of Michigan, Southern Division. In

                                                                                  support of this Notice of Removal, the Defendants state as follows:

                                                                                    I.    Introduction

                                                                                      1. On October 16, 2023, Plaintiff, Loft Holdings, LLC. (“Loft”), filed its Complaint against

                                                                                          the Defendants in the Oakland County Circuit Court (“Complaint”).

                                                                                      2. On October 24, 2023, service of the Summonses and Complaint on the Defendants was

                                                                                          made, by acceptance of service, with a copy of the Summonses and Complaint attached

                                                                                          as Exhibit 1.

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                                                                                     3. The Defendants are timely filing this Notice of Removal within 30 days of service in

                                                                                        accordance with 28 U.S.C. §1446(b).

                                                                                     4. The State Court Action alleges, in its Count I, that the Defendants breached a contract

                                                                                        with Loft, and breached an implied covenant of good faith and fair dealings, in connection

                                                                                        with Lofts’ application for a Bridge Loan, and demand for return of its deposit, when the

                                                                                        Bridge Loan did not close, claiming damages in excess of $50,000.00. See Compl., ¶¶73-

                                                                                        78.

                                                                                     5. The State Court Action alleges, in its Count II, that the Defendants made a specific

                                                                                        promise in connection with Lofts’ application for a Bridge Loan, and demand for return
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                                                                                        of its deposit, when the Bridge Loan did not close, claiming special damages in excess of
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                                                      Birmingham, MI 48009
                          Attorneys and Counselors




                                                                                        $230,136.96. See Compl., ¶¶80-86.

                                                                                     6. The State Court Action alleges, in its Count III, that Loft detrimentally relied on

                                                                                        Defendants alleged explicit promises in connection with Lofts’ application for a Bridge

                                                                                        Loan, and demand for return of its deposit, when the Bridge Loan did not close, claiming

                                                                                        damages in excess of $250,000.00. See Compl., ¶¶88-95.

                                                                                     7. The State Court Action alleges, in its Count IV, a claim for Statutory Conversion under

                                                                                        the terms of MCL 600.2919a, in connection with Lofts’ application for a Bridge Loan,

                                                                                        and demand for return of its deposit, when the Bridge Loan did not close, claiming trebled

                                                                                        damages in excess of $150,000.00. See Compl., ¶¶97-101.

                                                                                  II.   The Court Has Subject Matter Jurisdiction Over This Action Under 28 USC § 1332

                                                                                     8. Under 28 U.S.C. § 1332, this Court has original jurisdiction over “all civil actions where

                                                                                        the matter in controversy exceeds the sum or value of $75,000.00, exclusive of interest

                                                                                        and costs, and is between the citizens of different states. Those jurisdictional prerequisites

                                                                                        are met here.

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                                                                                          A. Complete diversity of citizenship exists.

                                                                                  9. There is complete diversity between the parties.

                                                                                  10. Loft is a Michigan limited liability company with its principal place of business in

                                                                                     Michigan. See Compl., ¶1. Therefore, Loft is a citizen of Michigan. See 28 U.S.C. §

                                                                                     1332(c)(1).

                                                                                  11. Defendant USC 28 N Saginaw, LLC, is a New York limited liability company, See Compl.,

                                                                                     ¶2, with its principal place of business located in the state of New York. Therefore,

                                                                                     Defendant USC 28 N Saginaw, LLC is a citizen of New York. See 28 U.S.C. § 1332(c)(1).

                                                                                  12. Defendant Urban Standard Manager, LP, is a Delaware limited partnership, See Compl.,
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                                                                                     ¶3, with its principal place of business located in the state of New York. Therefore,
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                                                                                     Defendant Urban Standard Manager, LP is a citizen of Delaware and/or New York. See

                                                                                     28 U.S.C. § 1332(c)(1).

                                                                                  13. Defendant Urban Standard Capital, LLC is a Delaware limited liability company, See

                                                                                     Compl., ¶5, with its principal place of business located in the state of New York.

                                                                                     Therefore, Defendant Urban Standard Capital, LLC is a citizen of Delaware and/or New

                                                                                     York. See 28 U.S.C. § 1332(c)(1).

                                                                                  14. Accordingly, this action involves “citizens of different states,” 28 U.S.C. § 1332(a)(1)-(2)

                                                                                     and meets the requirement of complete diversity of citizenship among the parties.

                                                                                     B.      The amount in controversy exceeds S75,000.

                                                                                  15. Loft alleges that it was damaged in the principal amount of at least:

                                                                                          A. $50,000.00 as actual damages under Count I – Breach of Contract. See Compl.,

                                                                                             Prayer for Relief, ¶1.

                                                                                          B. $230,136.96 as special damages under Count II – Promissory Estoppel. See

                                                                                             Compl., Prayer for Relief, ¶2.

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                                                                                                  C. $250,000.00 as reputational damages and other actual damages under Count III –

                                                                                                     Detrimental Reliance. See Compl., Prayer for Relief, ¶3.

                                                                                                  D. $150,000.00 as treble damages under Count IV – Statutory Conversion. See

                                                                                                     Compl., Prayer for Relief, ¶4.

                                                                                                  Accordingly, the amount-in-controversy requirement for diversity jurisdiction is

                                                                                                  satisfied because “the matter in controversy exceeds the sum or value of $75,000,

                                                                                                  exclusive of interest and costs.” 28 U.S.C. § 1332(a).

                                                                                  III.      Removal Is Timely

                                                                                            16.      This Notice of Removal is timely because it has been filed within 30 days after
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                                                                                            Defendants’ receipt of the Complaint on October 24, 2023. 28 U.S.C. § 1446(b)(1).
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                                                      Birmingham, MI 48009
                          Attorneys and Counselors




                                                                                  IV.       Procedural Requirements for Removal Are Satisfied

                                                                                         17. Attached to this Notice, as Exhibit 2, are copies of all process, pleadings, and orders

                                                                                            served on the Defendants in the State Court Action, in addition to the Complaint which is

                                                                                            included in Exhibit 1.

                                                                                            18.      This is the proper Court for the removal of this case because the United States

                                                                                            District Court for the Eastern District of Michigan, Southern Division is the federal

                                                                                            judicial district encompassing the Oakland County Circuit Court in the State of Michigan.

                                                                                            See 28 U.S.C. § 102(a)(1).

                                                                                            19.      This notice will be served on Orleans, through its counsel of record, and will be

                                                                                  filed promptly with the Oakland County Circuit Court. See 28 U.S.C. § 1446(d).

                                                                                  V.        Conclusion

                                                                                         20. For these reasons, this Court has diversity jurisdiction over this case under 28 U.S.C. §

                                                                                            1332 and removal is proper under 28 U.S.C. § 1446(b).

                                                                                  VI.       Jury Demand

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                                                                                     21. Defendants demand a trial by jury on all issues so triable.

                                                                                         WHEREFORE, Defendants remove this action from the Oakland County Circuit Court of

                                                                                  Michigan to the United States District Court for the Eastern District of Michigan, under 28 U.S.C.

                                                                                  §§ 1332, 1441, and 1446.



                                                                                                                                      Respectfully submitted,

                                                                                                                                      ISHBIA & GAGLEARD, P.C.

                                                                                                                                      /s/ Philip Cwagenberg
                                                                                                                                      Philip Cwagenberg (P36246)
                                                                                                                                      Attorney for Defendants
                                                                                                                                      251 E. Merrill St., Suite 212
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                                                                                                                                      (248) 647-8590
                                                                                                                                      pc@iglawfirm.com
                                                                                                                                      Dated: November 15, 2023




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                                                                                                                 EXHIBIT 1

                                                                                                        SUMMONS AND COMPLAINT
ISHBIA & GAGLEARD, P.C.
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                          Attorneys and Counselors




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                                                                                                                    EXHIBIT 2

                                                                                                 Copies of All Process, Pleadings, and Orders Served
                                                                                                    on the Defendants in The State Court Action
ISHBIA & GAGLEARD, P.C.
                                                     251 Merrill St., Suite 212
                                                      Birmingham, MI 48009
                          Attorneys and Counselors




                                                                                                                       None




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                                                                                                                   CERTIFICATE OF SERVICE

                                                                                  On November 15, 2023, I electronically submitted these papers with the Clerk of Court for the

                                                                                  U.S. District Court of Eastern District of Michigan, using the electronic case filing system of the

                                                                                  court. I hereby certify that I have served all counsel and/or pro se parties of record electronically

                                                                                  or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                                                                                        /s/ Philip Cwagenberg
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                                                     251 Merrill St., Suite 212
                                                      Birmingham, MI 48009
                          Attorneys and Counselors




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